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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                            CASE NO. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,   DECLARATION OF JOSHUA M. STEIN
                                                   IN SUPPORT OF PLAINTIFFS’ REPLY
                                                   RE MOTION FOR LEAVE TO FILE
  v.                                               THIRD AMENDED CONSOLIDATED
                                                   COMPLAINT
META PLATFORMS, INC.,

                                     Defendant.




                                                             DECLARATION OF JOSHUA M. STEIN
                                                                     CASE NO. 3:23-cv-03417-VC
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       I, Joshua M. Stein, declare as follows:

       I am an attorney duly licensed to practice in the State of California. I am a partner in the

San Francisco, California office of Boies Schiller Flexner, LLP (“BSF”), counsel for Plaintiﬀs in

the above-captioned action. I have personal knowledge of the matters stated herein and if called

upon, I can competently testify thereto. I make this declaration pursuant to 28 U.S.C. Section 1746

and Local Rule 6-3 in support of Plaintiffs’ Reply to Defendant Meta Platform, Inc.’s (“Meta’s”)

Opposition to Plaintiffs’ Motion for Leave to File a Third Amended Consolidated Complaint (the

“Reply”).
       1.      Attached to this Declaration as Exhibit A is a true and correct copy of a document

produced by Meta bearing the Bates range Meta_Kadrey_211699 - Meta_Kadrey_211703.

       2.      Attached to this Declaration as Exhibit B is a true and correct copy of a document

produced by Meta bearing the Bates range Meta_Kadrey_204223 - Meta_Kadrey_204224.

       3.      Attached to this Declaration as Exhibit C is a true and correct copy of a document

produced by Meta bearing the Bates range Meta_Kadrey_204218 - Meta_Kadrey_204222.

       4.      Attached to this Declaration as Exhibit D is a true and correct copy of a document

produced by Meta bearing the Bates Number Meta_Kadrey_211852.

       5.      Attached to this Declaration as Exhibit E are selected rough transcript excerpts from

the December 17, 2024 deposition of Mark Zuckerberg.

       6.      Attached to this Declaration as Exhibit F are selected transcript excerpts from the

September 19, 2024 deposition of Todor Mihaylov.

       7.      Attached to this Declaration as Exhibit G are selected transcript excerpts from the

November 20, 2024 Rule 30(b)(6) deposition of Michael Clark.

       8.      Attached to this Declaration as Exhibit H are excerpts from Meta’s Objections and

Responses to Plaintiffs’ Fifth Set of Requests for Production.




                                                              DECLARATION OF JOSHUA M. STEIN
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       I declare under penalty of perjury that the foregoing is true and correct. Executed this 18th

day of December 2024 in San Francisco, California.

                                               By:                      /s/ Joshua M. Stein
                                                                        Joshua M. Stein




                                                             DECLARATION OF JOSHUA M. STEIN
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